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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   AMIN LAKHANI,                                       Case No. 22-cv-22584-KMW

          Plaintiff,

   vs.

   325 ALCAZAR HOLDING CORP. and DIAZ
   BUITRON INC. d/b/a FUGATO FUSION
   CUISINE,

        Defendants.
   _____________________________________/

                                    NOTICE OF SETTLEMENT

         Plaintiff, AMIN LAKHANI, and Defendants, 325 ALCAZAR HOLDING CORP. and

  DIAZ BUITRON INC. d/b/a FUGATO FUSION CUISINE, by and through their undersigned

  counsel, hereby notify the Court that an agreement to settle the instant action in its entirety as to

  all claims and all parties has been reached. While the final form of the settlement agreement has

  been agreed to, the parties require time to obtain signatures and to comply with obligations under

  the settlement agreement. Accordingly, the parties request thirty (30) days to obtain signatures, to

  comply with obligations under the settlement agreement, and to thereafter file a stipulation of

  dismissal with prejudice as to all claims and all parties.

         RESPECTFULLY SUBMITTED October 31, 2022.

  By: /s/ Glenn R. Goldstein         :                   By: /s/ Manuel A. Garcia-Linares          :
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                                                            Attorneys for Diaz Buitron Inc.
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  By: /s/ Wilfredo A. Rodriguez          :              :
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     Attorneys for 325 Alcazar Holding Corp.



                                  CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that on October 31, 2022, the foregoing document was

  electronically filed with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record, either via transmission of Notices of

  Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

  parties who are not authorized to receive electronically Notices of Electronic Filing.


                                                        By: /s/ Manuel A. Garcia-Linares




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